Case 1:13-cr-00220-JRH-BKE Document 504 Filed 05/25/17 Page 1 of 2




            IN THE    UNITED   STATES    DISTRICT     COURT    FOR THE
                       SOUTHERN DISTRICT        OF   GEORGIA
                               AUGUSTA DIVISION




UNITED     STATES    OF AMERICA           *


      v.                                  *             CR 113-220-05


OSCAR    PIEDRA                           *




                                   ORDER




        On March 19, 2 014, Defendant Oscar Piedra pleaded guilty

to   conspiracy        to   distribute        and   possess    with   intent      to

distribute 5 grams or more of methamphetamine, in violation of

21   U.S.C.    §     846.    He   was    sentenced     to     serve   108    months

imprisonment, which was later reduced to 87 months pursuant to

18 U.S.C. § 3582(c) (2) after his guideline range was lowered.

        Presently, Defendant has filed a motion to further reduce

his sentence "pursuant [to] U.S.S.G. § 3B1.2 (Minor Role)."

Presumably,        Defendant is referencing Amendment 794 to the

United      States     Sentencing       Guidelines,     which    sets       out   new

guidelines for the determination of whether a defendant should
be granted a mitigating role reduction under U.S.S.G. § 3B1.2.

        Defendant was sentenced prior to the effective date of

Amendment 794.         Even assuming Defendant is correct, i.e., that

his conduct would qualify him for a "minor role" reduction, a

court may not modify a sentence once it has been imposed
Case 1:13-cr-00220-JRH-BKE Document 504 Filed 05/25/17 Page 2 of 2



except under limited circumstances.                       18 U.S.C.          § 3582(c).

And, while one of the exceptions provides that a sentence may

be reduced if          it    is   based on a lowered guideline range,                       §

3582(c)(2)       is     only      triggered    by    an    amendment          listed       in

U.S.S.G.       § 1B1.10(d).         (xxIn determining whether,               and to what

extent,    a reduction in the defendant's term of imprisonment

under 18 U.S.C.             § 3582(c)(2)   ...       is warranted,             .   .    . the

court     shall        substitute       only   the    amendments              listed       in

subsection       (d)    . . .       and shall leave all other guideline

application        decisions         unaffected"          (emphasis          added).).

Amendment       7 94    is    not   a   listed      amendment           in   U.S.S.G.       §

1B1.10(d).1            Consequently,       Amendment         794        would      not     be

available       to Defendant.


        Upon the foregoing, Defendant's motion to reduce sentence

(doc.    31)    is DENIED.

        ORDER ENTERED at Augusta, Georgia, this o/£^                                   day of
May,    2017.




                                                                   i;   CHIEF JUDGE
                                                      STATES DISTRICT COURT
                                                           DISTRICT OF GEORGIA




     1    Indeed, the  Sentencing Commission stated that
Amendment 794 is intended only as a clarifying amendment.
U.S.S.G. App. C, Amend. 794 (Reason for Amend.) ("This
amendment provides additional guidance to sentencing courts in
determining whether a mitigating role adjustment applies.").
